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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



UNITED STATES OF AMERICA,
                                                  CASE NO. 15-CR-20283
                    Plaintiff,                    HONORABLE GEORGE CARAM STEEH

      v.

D-4 RODNEY LAMOND KNIGHT,

                    Defendant.
                                        /


                ORDER GRANTING GOVERNMENT’S MOTION TO
                COMPEL COLLECTION OF DNA SAMPLE (Doc. 121)

      This matter is before the court on the government’s motion to compel collection

of a DNA sample from Defendant, Rodney Lamond Knight. The government seeks an

additional DNA sample to be obtained via buccal swab in order to conclusively

determine whether DNA evidence found on an AK-47 is in fact Defendant’s. For the

following reasons, the government’s motion is GRANTED.

                                    BACKGROUND

      A grand jury charged Defendant with, among other things, Felon in Possession of

a Firearm in violation of 18 U.S.C. § 922(g). (Doc. 33, Pg ID 256). The grand jury found

probable cause that Defendant was a felon in possession of a firearm based on an AK-

47 allegedly found at Defendant’s residence. A test conducted by the Michigan State

Police compared a DNA sample already on file with the Michigan State Police to a




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DNA sample taken off of the AK-47 and concluded that it was Defendant’s DNA on the

firearm. (Doc. 121-1, Pg ID 518). The Michigan State Police, however, requested an

additional DNA sample from Defendant to ensure “quality control and quality assurance”

and to confirm the association. (Id.). The court held a status conference on May 5, 2016

during which the government indicated that the parties would likely be stipulating to an

additional DNA sample. (Doc. 118, Pg ID 465). No stipulation was entered, and the

government filed the instant motion.

                                STANDARD OF REVIEW

       The Fourth Amendment to the Constitution, which is binding on the states

through the Fourteenth Amendment, prohibits unreasonable searches and seizures by

the government. A buccal swab of a person’s cheek is a search that falls within the

Fourth Amendment. Maryland v. King, 133 S. Ct. 1958, 1968-69 (2013). Although, “[t]he

fact than an intrusion is negligible is of central relevance to determining

reasonableness” under the Fourth Amendment. Id. at 1969. “[T]he Fourth Amendment’s

proper function is to constrain, not against all intrusions as such, but against intrusions

which are not justified in the circumstances.” Schmerber v. California, 384 U.S. 757, 768

(1966). In determining reasonableness under the Fourth Amendment, courts must

weigh the “extent of the intrusion upon the individual’s dignitary interests in personal

privacy and bodily integrity” against “the community’s interest in fairly and accurately

determining guilt or innocence.” Winston v. Lee, 470 U.S. 753, 761-62 (1985).

                                        ANALYSIS

       The government asks that the court compel Plaintiff to submit to a buccal swab to

ensure “quality control and quality assurance” and to confirm the presence of

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Defendant’s DNA on the AK-47. The government argues that the buccal test is

reasonable because it is non-invasive and has both inculpatory and exculpatory value.

Additionally, the grand jury has already found probable cause that Defendant was in

possession of the AK-47. Defendant responds that the this test is unnecessary because

the Michigan State Police already have Defendant’s DNA sample. Moreover, a report

from the Michigan State Police confirmed that Defendant’s DNA was on the AK-47.

       Defendant further requests that the court deny this motion because Defendant

has not had the opportunity to file a motion to suppress evidence, including the AK-47,

that was allegedly obtained from Defendant’s residence. The government asks the court

to grant the motion in order to avoid unnecessary delays in this multi-defendant case.

       Finally, Defendant insists that the government did not file this motion to further

solidify the case at hand. Rather, according to Defendant, the government is trying to

obtain evidence to link Defendant to an armed bank robbery. The government denies

these allegations in its reply.

       As noted above, this is not an invasive procedure, and although the test is

duplicative, it retains its value to the government’s purpose of determining the guilt or

innocence of Defendant. If Defendant does file a motion to suppress and succeed, the

DNA obtained through this buccal swab would be immaterial. As to Defendant’s

allegation that the government is using this test to obtain evidence for another

investigation, the court does not find that persuasive. Defendant did not provide any

evidence to support this accusation. In addition, the Michigan State Police already have




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Plaintiff’s DNA on file. The buccal swab at issue is, therefore, reasonable under the

Fourth Amendment, and the government’s motion is GRANTED.

      IT IS SO ORDERED.

Dated: July 13, 2016
                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                        July 13, 2016, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk




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